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SOLUTIONS, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BRYCE ABBINK, Case No. 8:19-cv-01257-JFW-PJ Wx
Plaintiffs, Hon. John F. Walter
Vv STIPULATION TO EXTEND TIME
| COMPLAINT AND TO EXTEND
EXPERIAN INFORMATION
TIME TO FILE A MOTION FOR
Defendants.
Complaint filed: June 21, 2019

 

 

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STIP. TO EXTEND TIME RE RESPONSE TO
COMPLAINT/CLASS CERT.
Case No. 8:19-cv-01257-JFW-PJWx

 

 
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Plaintiff Bryce Abbink (‘Plaintiff’) and Defendant Experian Information
Solutions, Inc. (“Experian”), through their respective counsel, hereby stipulate as
follows:

RECITALS

WHEREAS, on June 21, 2019, Plaintiff filed his complaint in this matter in
the United States District Court, Central District of California (the “Complaint”);

WHEREAS, on July 2, 2019, Plaintiff caused the Complaint to be served on
Experian’s registered agent for service of process;

WHEREAS, on or before July 23, 2019, Experian’s answer or other response
to Plaintiff's Complaint is due to be filed;

WHEREAS, on or before September 30, 2019, Plaintiff's motion for class
certification is due to be filed per Civil L.R. 23-3 (the “Motion for Class
Certification”);

WHEREAS, on July 11, 2019, counsel for Experian and Plaintiff met and
conferred regarding the pendency of these deadlines. Experian requested an
additional thirty (30) days to evaluate Plaintiff's Complaint and prepare a competent
response in light of the complexity of the claims. Plaintiff in-turn requested an
additional ninety (90) days to prepare his Motion for Class Certification in
recognition of the delay created by the granting of an extension for Experian’s time
to answer or otherwise respond to the Complaint. Experian and Plaintiff agreed to
each other’s conditions;

WHEREAS, Plaintiff is actively engaged in discovery and has served his First
Set of Discovery Requests—including Requests for the Production of Documents
and Interrogatories—upon Experian. Further, extending the Motion for Class
Certification deadline will allow both parties sufficient time to conduct discovery
directly relevant to their respective class certification positions. Therefore, the
extension will enable the Court to render an informed decision based upon a fulsome

record. STIP. TO EXTEND TIME RE RESPONSE TO

COMPLAINT/CLASS CERT.
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WHEREAS, the new date for Experian’s answer or other response to
Plaintiff's Complaint will be August 22, 2019.

WHEREAS, the new date for Plaintiff to file his Class Pleading will be
December 30, 2019.

STIPULATION

IT IS HEREBY STIPULATED, by and between the parties to this action,
through their respective attorneys of record, as follows:

1. Experian shall answer or otherwise respond to Plaintiff's Complaint by
August 22, 2019.

2. Plaintiff shall file his Motion for Class Certification pursuant to Civil
L.R. 23-3 by December 30, 2019.

Pursuant to Local Rule 5-4.3.4, Jack Williams IV hereby attests that the
following signatories concur in the filing’s content and have authorized the filing.

ITIS SO STIPULATED.

STIP. TO EXTEND TIME RE RESPONSE TO
COMPLAINT/CLASS CERT.
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Attorneys for Plainti
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STIP. TO EXTEND TIME RE RESPONSE TO
COMPLAINT/CLASS CERT.

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